


  ORDER
 

  This case is hereby resubmitted.
 

  Pursuant to the judgment of the United States Supreme Court issued on March 20, 2007 in
  
   Travelers Casualty &amp; Surety Co. of America v. Pacific Gas &amp; Electric Co.,
  
  — U.S.-, 127 S.Ct. 1199, 167 L.Ed.2d 178 (2007), we vacate our disposition at 167 Fed.Appx. 593 (9th Cir.2006), vacate the
   
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  district court’s decision as well as the bankruptcy court’s decision, and remand to the district court with instructions to remand to the bankruptcy court for further proceedings consistent with the opinion of the Supreme Court.
 

  We do not reach any issue presented by the parties, leaving those questions for the consideration of the bankruptcy court in the first instance.
 
